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 4                       IN THE UNITED STATES DISTRICT COURT
 5                                 FOR THE DISTRICT OF ARIZONA
 6
 7   Anthony Eric Emerson,                              No. CV-16-00229-TUC-DCB
 8                   Plaintiff,                         ORDER
 9   v.
10   Corizon Incorporated, et al.,
11                   Defendants.
12
13          The court having been notified that this case has been settled by the parties.
14          Accordingly,
15          IT IS ORDERED that the case is dismissed without prejudice, and the Clerk of the
16   Court shall close it.
17          IT IS FURTHER ORDERED that the parties shall file the appropriate dismissal
18   documents within 30 days of the filing of this Order.
19          IT IS FURTHER ORDERED that this Court retains jurisdiction over this matter
20   to reopen the case and return it to the Court's active docket, in the event problems arise in
21   relation to its settlement.
22          Dated this 14th day of June, 2019.
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